  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 1 of 24 PageID #:1170




                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 ARDAGH METAL PACKAGING USA
 CORP. f/k/a ARDAGH METAL
 BEVERAGE USA INC.,
             Plaintiff                                  No. 22 CV 7367

        v.                                              Judge Jeremy C. Daniel

 AMERICAN CRAFT BREWERY, LLC
 d/b/a VARIOUS BOSTON BEER
 BREWERIES,
            Defendant

 AMERICAN CRAFT BREWERY, LLC
          Counter-Claimant

        v.

 ARDAGH METAL PACKAGING USA
 CORP.,
         Counter-Defendant


                      MEMORANDUM OPINION AND ORDER

       Ardagh Metal Packaging USA Corp. (“Ardagh”) and American Craft Brewery,

LLC (“ACB”) entered into a contract for the purchase of aluminum beverage cans.

Ardagh filed suit against ACB, alleging that ACB breached its purchasing obligations

under the contract. (See generally, R. 9 (“Compl.”).) 1 ACB answered the complaint



   1 For consistency purposes, the Court cites to the sealed versions of the parties’ CM/ECF

filings. The Court is mindful not to reveal information that may be reasonably deemed
confidential but, to the extent confidential information is discussed, the Court has done so
because it is necessary to explain its reasoning. See In re Specht, 622 F.3d 697, 701 (7th Cir.
2010) (“Documents that affect the disposition of federal litigation are presumptively open to
public view, even if the litigants strongly prefer secrecy, unless a statute, rule, or privilege
justifies confidentiality.”); Union Oil Co. of Cal. v. Leavell, 220 F.3d 562, 568 (7th Cir. 2000)
(explaining that a judge's “opinions and orders belong in the public domain”).
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 2 of 24 PageID #:1171




and asserted various counterclaims and affirmative defenses against Ardagh. (R. 23.)

Ardagh now moves for partial dismissal of ACB’s counterclaims under Federal Rule

of Civil Procedure 12(b)(6), to strike certain of ACB’s affirmative defenses under

Federal Rule of Civil Procedure 12(f), and for a declaratory judgment against ACB on

Count II of the complaint under Federal Rule of Civil Procedure 12(c). 2 (R. 32; R. 34;

R. 70.) For the reasons below, Ardagh’s motion to dismiss is granted in part and

denied in part; its motion to strike is granted; and its motion for judgment on the

pleadings as to Count II is granted.

                                   BACKGROUND 3

       Ardagh manufactures and supplies various metal and glass packaging to brand

owners. (R. 23 (“Countercls.”) ¶ 6.) ACB, a manufacturer of alcoholic beverages, is one

of Ardagh’s customers. (Id. ¶¶ 5–6.) Ardagh and ACB entered into an agreement (the

“Initial Agreement”), effective January 1, 2020, pursuant to which Ardagh agreed to

supply and ACB agreed to purchase twelve ounce “sleek” aluminum beverage can

bodies and associated can ends. (Compl. ¶ 10.) In December 2020, the parties

amended their agreement (the “Amended Agreement” and, together with the Initial

Agreement, the “Agreement’). (Id. ¶ 13.) Relevant here, the Amended Agreement

modified the Initial Agreement by: (1) extending the term of the Initial Agreement




   2  The Court has subject matter jurisdiction over Ardagh’s complaint and ACB’s
counterclaims pursuant to 28 U.S.C. § 1332 because both parties allege complete diversity of
citizenship and damages in excess of $75,000. (R. 9 ¶ 7; R. 23 ¶ 7.)
    3 The factual information is taken from the well-pleaded allegations in Ardagh’s

complaint and ACB’s counterclaims, which are accepted as true for purposes of ruling on a
Rule 12(b)(6) motion to dismiss and a Rule 12(c) motion for judgment on the pleadings. See
Katz-Crank v. Haskett, 843 F.3d 641, 646 (7th Cir. 2016).
                                             2
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 3 of 24 PageID #:1172




through January 1, 2027; (2) adding twelve ounce and twenty-four ounce “standard”

aluminum beverage cans and associated can ends for purchase; and (3) providing

minimum can purchase volumes for the years 2021 through 2026 (“Annual Minimum

Volume”). (Id. ¶ 13; see also R. 36-1 at 87–88.) 4

       Ardagh alleges that ACB failed to meet its Annual Minimum Volume purchase

obligations for the years 2021 and 2022, and refused to provide reasonable assurances

that it would make up its purchasing shortfalls or be able to perform its contractual

obligations for the time remaining on the contract. (Compl. ¶¶ 19–29.) Ardagh’s two-

count complaint raises a claim for breach of contract (Count I) and seeks a declaratory

judgment in its favor (Count II). (See generally, Compl.)

       ACB answered the complaint and asserted various counterclaims and

affirmative defenses against Ardagh. (See generally, R. 23.) Certain of ACB’s

counterclaims stem from Ardagh’s use of a particular varnish and wax-based

lubricant that is alleged to have caused a “dark, sticky buildup” on the beverage cans,

resulting in slowdowns and breakdowns on ACB’s processing lines. (Countercls.

¶¶ 40–42, 47–49, 58, 61–62.) ACB alleges that Ardagh was aware of the issues that



   4 Both parties rely heavily on the terms of the Agreement in advancing their respective

claims and counterclaims, but neither party attaches a copy of the document itself to the
pleadings. Generally, a court cannot consider materials outside of the pleadings when ruling
on a Rule 12(b)(6) or Rule 12(c) motion without converting the motion to one for summary
judgment. Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012)
(citing Fed. R. Civ. P. 12(d)). There is, however, an exception to this rule under which the
Court may consider documents that are referenced in the complaint, central to the party’s
claim, and concededly authentic. See Fin. Fiduciaries, LLC v. Gannett Co., Inc., 46 F.4th 654,
663 (7th Cir. 2022); Brownmark Films, 682 F.3d at 690. Neither party challenges the
applicability of the incorporation-by-reference exception, let alone the Court’s ability to
consider the Agreement. Because the Agreement meets the exception’s requirements, the
Court considers it in ruling on the motions pending before it.
                                              3
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 4 of 24 PageID #:1173




its materials caused during the filling process, but continued to use them anyway in

breach of the Agreement. (Id. ¶¶ 33–39, 42, 45, 51–53, 63.) As a result of Ardagh’s

alleged use of unsuitable varnish and lubricant, ACB raises counterclaims for breach

of contract (Counts II and III), breach of the duty of good faith and fair dealing

(Counts IV and V), breach of warranty of fitness for a particular purpose (Counts VI

and VII), and negligent misrepresentation (Count VIII). (See generally, Countercls.)

      Ardagh now moves to dismiss certain of these counterclaims under Rule

12(b)(6), (R. 32), and to strike certain of ACB’s affirmative defenses under Rule 12(f).

(R. 34.) Ardagh further moves this Court for a declaratory judgment on Count II of

the complaint. (R. 70.)

                                 LEGAL STANDARD

      A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a claim, not the

merits of a case. Gociman v. Loyola Univ. of Chi., 41 F.4th 873, 885 (7th Cir. 2022).

To survive a Rule 12(b)(6) motion, a claim “must provide enough factual information

to state a claim to relief that is plausible on its face and raise a right to relief above

the speculative level.” Haywood v. Massage Envy Franchising, LLC, 887 F.3d 329,

333 (7th Cir. 2018) (citing Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736

(7th Cir. 2014)). In deciding a motion to dismiss, the Court accepts as true all well-

pleaded factual allegations and draws all reasonable inferences in favor of the non-

moving party. Lax v. Mayorkas, 20 F.4th 1178, 1181 (7th Cir. 2021). Dismissal is

proper where “the allegations . . . , however true, could not raise a claim of entitlement

to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007).



                                            4
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 5 of 24 PageID #:1174




      Rule 12(f) provides that “[t]he court may strike from a pleading an insufficient

defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R.

Civ. P. 12(f). Generally, Rule 12(f) motions are disfavored because of their potential

for use as a delay tactic. See Heller Fin., Inc. v. Midwhey Powder Co., Inc., 883 F.2d

1286, 1294 (7th Cir. 1989). But where motions to strike “remove unnecessary clutter

from the case, they serve to expedite, not delay.” Id. Whether to strike material under

Rule 12(f) is soundly within the court’s discretion. Delta Consulting Grp., Inc. v. R.

Randle Const., Inc., 554 F.3d 1133, 1141 (7th Cir. 2009) (citing Talbot v. Robert

Matthews Distrib. Co., 961 F.2d 654, 665 (7th Cir. 1992)).

      Finally, Rule 12(c) allows a party to move for judgment on the pleadings “[a]fter

the pleadings are closed—but early enough not to delay trial.” Fed. R. Civ. P. 12(c).

The same standard governing Rule 12(b)(6) motions applies to Rule 12(c) motions;

the only difference between the two is timing. Federated Mut. Ins. Co. v. Coyle Mech.

Supply Inc., 983 F.3d 307, 313 (7th Cir. 2020). Thus, as with a motion to dismiss, the

Court views all facts and inferences in the light most favorable to the non-moving

party. Id. To succeed on a Rule 12(c) motion, “the moving party must demonstrate

that there are no material issues of fact to be resolved.” Id. (citing N. Ind. Gun &

Outdoor Shows, Inc. v. City of S. Bend, 163 F.3d 449, 452 (7th Cir. 1998)). Accordingly,

the Court will not grant a Rule 12(c) motion “unless it appears beyond doubt that the

nonmovant cannot prove facts sufficient to support its position, and that the plaintiff

is entitled to relief.” Id. (citing Scottsdale Ins. Co. v. Columbia Ins. Grp., Inc., 972

F.3d 915, 919 (7th Cir. 2020)).



                                           5
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 6 of 24 PageID #:1175




                                     ANALYSIS

      I.     ARDAGH’S RULE 12(B)(6) MOTION TO DISMISS ACB’S COUNTERCLAIMS

             A.     Breach of Duty of Good Faith and Fair Dealing (Counts VI
                    and VII)

      Ardagh first argues that ACB’s breach of the implied covenant of good faith

and fair dealing counterclaims must be dismissed as duplicative of ACB’s breach of

contract counterclaims. (R. 36-1 at 6–8.) ACB alleges that Ardagh’s use of unsuitable

varnish and wax-based lubricant violated the Agreement’s Container Warranty,

which requires Ardagh to supply cans free from defects in material, workmanship,

and design, as well as the Agreement’s Specifications, which requires, among other

things, that the cans be suitable in all respects for the intended filling, closing, and

packaging of ACB’s beverage products in accordance with industry standards.

(Countercls. ¶¶ 55, 79–80, 89–90.) In the alternative, ACB alleges that Ardagh’s use

of these materials, even if not expressly prohibited by the Agreement, arbitrarily and

unreasonably deprived ACB of the benefit of its bargain in violation of the implied

covenant of good faith and fair dealing. (Id. ¶¶ 97–98, 100, 106–107, 109.)

      Both parties acknowledge that the Agreement and, therefore, ACB’s

counterclaims are governed by New York law. (See R. 36-1 at 90); see also NewsSpin

Sports, LLC v. Arrow Elecs., Inc., 910 F.3d 293, 300, 306 (7th Cir. 2018). Under New

York law, every contract contains an implied covenant of good faith and fair dealing.

Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank, 392 F.3d 520, 525 (2d Cir. 2004). The

implied covenant “is a pledge that neither party to the contract shall do anything

which will have the effect of destroying or injuring the right of the other party to


                                           6
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 7 of 24 PageID #:1176




receive the fruits of the contract, even if the terms of the contract do not explicitly

prohibit such conduct.” P.S. Fin., LLC v. Eureka Woodworks, Inc., 184 N.Y.S.3d 114,

138 (N.Y. App. Div. 2023). Further, where the contract contemplates the use of

discretion, “this pledge includes a promise not to act arbitrarily or irrationally in

exercising that discretion.” Spinelli v. Nat’l Football League, 903 F.3d 185, 205 (2d

Cir. 2018) (citation omitted). Because a breach of this implied covenant “is merely a

breach of the underlying contract,” such a claim will typically be dismissed as

duplicative of a breach of contract claim where the two are based on the same facts.

Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 125 (2d Cir. 2013).

      In this case, Ardagh argues that ACB cannot maintain its breach of implied

covenant counterclaims because they are premised on the same conduct that

underlies its breach of contract claims—that is, Ardagh’s use of unsuitable varnish

and wax-lubricant—and seek the same relief—monetary damages for its losses. (R.

36-1 at 7–9.) In response, ACB argues that its breach of implied covenant

counterclaims include “express limitations” to avoid duplicating its breach of contract

claims. (R. 52 at 7.) Specifically, ACB explains that it pled its breach of implied

covenant counterclaims as an alternative theory that only “come[s] into play” where

Ardagh’s use of the unsuitable varnish and wax constitutes an exercise of discretion,

not a breach of an express obligation under the Agreement. (Id. at 5–6; see also

Countercls. ¶¶ 99, 108.)

      As the Second Circuit has explained, under New York law, “[a] party certainly

cannot succeed on claims for both breach of an express contract term and breach of



                                          7
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 8 of 24 PageID #:1177




the implied covenant based on the same facts, but where [ ] there is a dispute over

the meaning of the contract’s express terms, there is no reason to bar a plaintiff from

pursuing both types of claims in the alternative.” Spinelli, 903 F.3d at 206 (reversing

dismissal of breach of implied covenant claim where complaint plausibly alleged that

the agreement “if not expressly, at least implicitly” prohibited the defendant’s

conduct). The Court finds this reasoning applicable here. The Agreement enumerates

certain warranties and specifications that speak to the workmanship and exterior

coating of the beverage cans, but makes no mention of varnish or lubricant. Nor is it

clear whether the Agreement expressly contemplates the particular defect alleged

here—that is, Ardagh’s use of materials that were incompatible with ACB’s

processing lines. At the very least, ACB has plausibly alleged that, even if not

expressly covered under the Container Warranty or Specifications, the Agreement

implicitly prohibits Ardagh from using materials in the manufacture of its cans that

deprive ACB of the “fruits of the contract.” P.S. Fin., LLC, 184 N.Y.S.3d at 138.

Although ACB will not be able to recover under both theories, it can, at this stage,

proceed on its breach of the implied covenant of good faith and fair dealing

counterclaims. See Spinelli, 903 F.3d at 206. Ardagh’s motion to dismiss Counts IV

and V is therefore denied.

             B.     Breach of Warranty of Fitness for a Particular Purpose
                    (Counts VI and VII)

      Next, Ardagh moves to dismiss ACB’s counterclaims for breach of warranty of

fitness for a particular purpose. ACB alleges that Ardagh breached the implied

warranty of fitness by using unsuitable varnish and wax lubricant that rendered the


                                          8
  Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 9 of 24 PageID #:1178




beverage cans unfit for their intended purpose. (Countercls. ¶¶ 117, 125.) Ardagh

argues that these counterclaims must be dismissed because they are barred by the

Amended Agreement’s warranty disclaimer. (R. 36-1 at 10–11.)

      New York’s Uniform Commercial Code provides that every contract carries an

implied warranty of fitness unless “excluded or modified.” NY Drilling, Inc. v. TJM,

Inc. LLC, 573 F. Supp. 3d 854, 858 (E.D.N.Y. 2021); N.Y. U.C.C. Law § 2-315. To

exclude an implied warranty of fitness, “the exclusion must be by a writing and

conspicuous.” N.Y. U.C.C. Law § 2-316(2). Conspicuous means that the writing is “so

written, displayed, or presented that a reasonable person against which it is to

operate ought to have noticed it.” NY Drilling, 573 F. Supp. 3d at 858 (quoting N.Y.

U.C.C. Law § 1-201(b)(10)). “Whether a term is ‘conspicuous’ or not is a decision for

the court.” N.Y. U.C.C. Law § 1-201(b)(10).

      In this case, Section 20.8 of the Initial Agreement provides:

             20.8 EXPRESS WARRANTIES. EXCEPT FOR THE
             EXPRESS WARRANTIES SET FORTH ABOVE,
             ARDAGH MAKES NO OTHER WARRANTIES OF ANY
             KIND,   WHETHER    EXPRESS   OR    IMPLIED,
             STATUTORY OR ARISING BY COURSE OF DEALING
             OR PERFORMANCE, CUSTOM, USAGE IN THE TRADE
             OR    OTHERWISE,    INCLUDING,    WITHOUT
             LIMITATION, THE IMPLIED WARRANTIES OF
             MERCHANTABILITY    AND   FITNESS    FOR  A
             PARTICULAR PURPOSE.

      (R. 36-1 at 31.) The Agreement’s disclaimer meets the statutory requirements

to exclude the implied warranty of fitness for a particular purpose. Section 20.8

clearly and explicitly disclaims all implied warranties, including the warranty of

fitness for a particular purpose. See, e.g., N.Y. U.C.C. Law § 2-316(2) (“Language to


                                          9
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 10 of 24 PageID #:1179




exclude all implied warranties of fitness is sufficient if it states, for example, that

‘[t]here are no warranties which extend beyond the description on the face hereof.’”).

      Further, and contrary to ACB’s arguments in response, the disclaimer is

sufficiently conspicuous. The disclaimer uses capital letters and is set off in its own

discrete paragraph. Of the myriad sections included in the Agreement, only two other

paragraphs use text in all capital letters, while the remainder of the Agreement uses

regular text. The disclaimer is thus presented in such a way that a “reasonable person

. . . ought to have noticed it.” NY Drilling, 573 F. Supp. 3d at 858 (granting motion to

dismiss breach of implied warranty claims where the disclaimer, albeit appearing

after the signature block, was set off in its own paragraph, in all capital letters, and

clearly and explicitly disclaimed the warranties of fitness and merchantability); see

also Shema Kolainu-Hear Our Voices (SK-HOV) v. ProviderSoft, LLC, 832 F. Supp.

2d 194, 200 (E.D.N.Y. 2010) (finding that disclaimer met statutory requirements for

exclusion where the text was “in capital letters in a separate block paragraph and

specifically mention[ed]” the warranties being disclaimed).

      Nevertheless, ACB contends that there are other factors that may affect the

enforceability of the disclaimer, such as whether the provision is substantively

unconscionable. (R. 52 at 8, 10.) This argument stems from the principle that, even if

a disclaimer meets the basic criteria for validity, New York’s U.C.C. “separately

provides that a court may void such a clause if it finds it ‘to have been unconscionable

at the time it was made.’” SK-HOV, 832 F. Supp. 2d at 200 (quoting N.Y. U.C.C. Law

§ 2-302). “‘A determination of unconscionability generally requires a showing that the



                                          10
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 11 of 24 PageID #:1180




contract was both procedurally and substantively unconscionable when made,’ which

means a showing of ‘absence of meaningful choice on the part of the parties together

with contract terms which are unreasonably favorable to the other party.’” Red Ft.

Cap., Inc. v. Guardhouse Prods. LLC, 397 F. Supp. 3d 456, 475 (S.D.N.Y. 2019)

(quoting Gillman v. Chase Manhattan Bank, N.A., 534 N.E.2d 824, 828 (N.Y. 1988)).

N.Y. U.C.C. Law § 2-316(2).

      Beyond asserting that Ardagh was aware of the intended use of the cans when

the parties entered into the contract, ACB provides no explanation as to how the

warranty disclaimer is procedurally or substantively unconscionable. Rather, the

basis for ACB’s argument appears to be that a determination of unconscionability

should await development of a factual record. (R. 52 at 10.) The determination of

unconscionability, however, is a question of law properly before the court on a motion

to dismiss. See I.C. ex rel. Solovsky v. Delta Galil USA, 135 F. Supp. 3d 196, 211

(S.D.N.Y. 2015). Here, there are no allegations from which this Court can plausibly

infer unequal bargaining power, deceptive tactics, or any other procedural

irregularities in contract formation between these two commercially sophisticated

parties. See, e.g., SK-HOV, 832 F. Supp. 2d at 203 (dismissing plaintiffs’ breach of

warranty claims where there was “no valid ground on which the disclaimer of

warranties [ ] might be found unconscionable”). And ACB’s conclusory allegation of

substantive unconscionability is not sufficient to withstand a motion to dismiss. See,

e.g., id. at 201 (explaining that allegations of substantive unconscionability, alone,




                                         11
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 12 of 24 PageID #:1181




are not “egregious enough to render the contract unenforceable”). Accordingly,

Ardagh’s motion to dismiss Counts VI and VII is granted.

             C.     Negligent Misrepresentation (Count VIII)

      Finally, Ardagh moves to dismiss ACB’s counterclaim for negligent

misrepresentation. ACB alleges that Ardagh had a duty to impart correct information

regarding the varnish and wax-based lubricant, and ACB reasonably relied on

Ardagh’s representations regarding these materials to its detriment. (R. 23 ¶¶ 129,

134, 138, 140.) Ardagh moves to dismiss this counterclaim under New York’s

economic loss rule. (R. 36-1 at 11–12.)

      A claim for negligent misrepresentation under New York law requires the

plaintiff to plead “(1) the existence of a special or privity-like relationship imposing a

duty on the defendant to impart correct information to the plaintiff; (2) that the

information was incorrect; and (3) reasonable reliance on the information.” Mandarin

Trading Ltd. v. Wildenstein, 944 N.E.2d 1104, 1109 (N.Y. 2011). Where, however,

purely economic damages are pled as a result of the alleged reliance, the pleading

“invit[es] application of New York’s ‘economic loss rule.’” Manhattan Motorcars, Inc.

v. Automobili Lamborghini, S.p.A., 244 F.R.D. 204, 220 (S.D.N.Y. 2007). Under New

York’s economic loss rule, “a party to a contract that suffers economic loss only”—as

opposed to personal injury or property damage—“is, in most cases, limited to recover

pursuant to a claim for breach of contract and cannot recover economic or

consequential damages in tort.” Avazpour Networking Servs. Inc. v. Falconstor

Software, Inc., 937 F. Supp. 2d 355, 361 (E.D.N.Y. 2013). The doctrine recognizes that

“when a plaintiff suffers only economic loss, ‘it loses part of its bargain, and the
                                           12
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 13 of 24 PageID #:1182




parties are relegated to the contractual remedies they negotiated . . ..’” Id. (quoted

case omitted).

      ACB argues that it can proceed under a tort theory of liability because its

negligent misrepresentation counterclaim arises, not from a duty imposed under the

Agreement, but from a duty arising from the special relationship between the parties

given Ardagh’s “unique and specialized expertise in manufacturing aluminum cans

for beverage distributors.” (R. 52 at 12 (citing Countercls. ¶ 129)). New York law

allows tort theories of liability to proceed in parallel to breach of contract claims

“where a party to a contract can properly allege the breach of a duty owed to the

plaintiff that exists separate and apart from the contract.” Avazpour, 937 F. Supp. 2d

at 361. New York courts, however, “regularly hold as a matter of law that an arm’s

length business arrangement between sophisticated and experienced parties cannot

give rise to a ‘special relationship.’” Fed. Hous. Fin. Agency v. UBS Ams., Inc., 858 F.

Supp. 2d 306, 334 (S.D.N.Y. 2012) (collecting cases). Further, “knowledge of the

particulars of [a] company’s business—and of the true situation underlying the

misrepresentations pertaining to that business . . . does not constitute the type of

‘specialized knowledge’ that is required in order to impose a duty of care in the

commercial context.” JP Morgan Chase Bank v. Winnick, 350 F. Supp. 2d 393, 402

(S.D.N.Y. 2004).

      In this case, ACB’s allegations do not sufficiently explain how Ardagh’s

manufacturing expertise gives rise to a duty that is separate and apart from the

duties owed under the Agreement. Nor has ACB pointed this Court to any authority



                                          13
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 14 of 24 PageID #:1183




recognizing a special relationship between two contracting parties in an analogous

context. Accordingly, the Court finds that ACB’s allegations of Ardagh’s “specialized

expertise” as to aluminum beverage cans are insufficient to support a duty sounding

in tort.

       Further, and despite its argument to the contrary, ACB alleges purely

economic losses. ACB claims that Ardagh’s representations regarding the varnish

and wax-lubricant caused “material slowdown, shutdown[,] and breakdown of the

Filling Process lines.” (Countercls. ¶ 128.) Although ACB attempts to characterize

these losses as “property damages,” “the cost of repairs and delays resulting from [ ]

contractually noncompliant work” are “classic breach of contract damages.” Americon

Constr., Inc. v. Cirocco & Ozzimo, Inc., 169 N.Y.S.3d 582, 584 (N.Y. App. Div. 2022).

Where, as here, “a plaintiff is essentially seeking enforcement of the bargain, the

action should proceed under a contract theory[;]” not a tort theory. Ocean Gate

Homeowners Assn, Inc. v. T.W. Finnerty Prop. Mgt., Inc., 83 N.Y.S.3d 494, 497 (N.Y.

App. Div. 2018). The Court therefore grants Ardagh’s motion to dismiss Count VIII.

       II.   ARDAGH’S MOTION TO STRIKE ACB’S AFFIRMATIVE DEFENSES

       Next, Ardagh moves to strike ACB’s affirmative defenses 1, 3, 8, 9, 10, 11, 14,

and 15 as insufficient under the Federal Rules’ pleading requirements. (R. 36-2.)

Because affirmative defenses are pleadings, they are subject to the same

requirements applicable to complaints. Heller, 883 F.2d at 1294. Thus, under Rule 8,

affirmative defenses must set forth a “short and plain statement” of the basis for the

defense. Fed. R. Civ. P. 8(a). Allegations of fraud and mistake must be pled with

particularity. See Fed. R. Civ. P. 9(b)).
                                            14
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 15 of 24 PageID #:1184




       Affirmative defenses that amount to nothing more than “bare bones conclusory

allegations” do not suffice under the Federal Rules and may be stricken. Heller, 883

F.3d at 1295; Savis, Inc. v. Cardenas, No. 18 C 6521, 2019 WL 13083435, at *2 (N.D.

Ill. June 21, 2019). In determining the sufficiency of an affirmative defense, courts

apply a three-part test: (1) is it an appropriate affirmative defense; (2) is it adequately

pled under Rules 8 and 9; and (3) is it pled sufficiently to meet the same standard as

required by Rule 12(b)(6) for a complaint. Bendtrand Glob. Servs. S.A. v. Silvers, No.

21 C 4684, 2023 WL 6388131, at *1 (N.D. Ill. Sept. 29, 2023) (citing Surface Shields,

Inc. v. Poly-Tak Prot. Sys., Inc., 213 F.R.D. 307, 308 (N.D. Ill. 2003)).

       In this case, the affirmative defenses challenged by Ardagh amount to a single

sentence each in which ACB states the legal theory that allegedly bars Ardagh’s

claims in conclusory fashion without any allegations supporting the factual basis for

the defense. Though ACB, in response, points to certain allegations in its answer and

counterclaims to show that factual support exists, these allegations are not

mentioned or incorporated by reference in the affirmative defenses. See, e.g., Reis

Robotics USA, Inc. v. Concept Indus., Inc., 462 F. Supp. 2d 897, 904 (N.D. Ill. 2006)

(striking affirmative defense despite “lengthy counterclaim allegations” because the

allegations were not mentioned or incorporated by reference in the affirmative

defenses, nor was it clear what portion of the counterclaims were intended to support

the affirmative defense). ACB’s bare bones pleading does not comport with the

Federal Rules and, thus, the Court grants Ardagh’s motion to strike. See, e.g.,




                                            15
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 16 of 24 PageID #:1185




Bendtrand, 2023 WL 6388131, at *2 (granting motion to strike where affirmative

defenses were “completely bare bones with not a single fact alleged in support”).

      III.   ARDAGH’S MOTION FOR JUDGMENT ON THE PLEADINGS ON COUNT II

      Finally, Ardagh moves for a declaratory judgment against ACB on Count II of

the complaint under Rule 12(c). (See generally, R. 73.) Specifically, Ardagh seeks a

declaration stating that, under Sections 2.2 and 2.2.1 of the Amended Agreement:

(1) ACB has a contractual duty to purchase the Annual Minimum Volume of

aluminum beverage cans from Ardagh each calendar year from 2021 through 2026;

(2) should ACB fail to purchase the minimum number of aluminum cans in a given

calendar year, the shortfall must be purchased by ACB the following calendar year;

and (3) regardless of any failure by ACB to meet its purchase obligations, the

Agreement’s termination date is not to extend beyond January 1, 2028. (Id. at 5.)

      As noted above, the parties’ Amended Agreement is governed by New York law.

“Under New York law, a contract ‘that is clear, complete, and subject to only one

reasonable interpretation must be enforced according to the plain meaning of the

language chosen by the contracting parties.’” Landmark Ventures, Inc. v. Wave Sys.

Corp., No. 11 C 8440 PAC, 2012 WL 3822624, at *3 (S.D.N.Y. Sept. 4, 2012), aff'd,

513 Fed. App’x. 109 (2d Cir. 2013) (unpublished) (citing Brad H. v. City of New York,

951 N.E.2d 743, 746 (N.Y. 2011)). When the parties dispute the meaning of the

contract, “the threshold question is whether the contract terms are ambiguous, . . .

which is a question of law for the Court to decide on a claim-by-claim basis.”

Homeward Residential, Inc. v. Sand Canyon Corp., 298 F.R.D. 116, 128 (S.D.N.Y.

2014) (citations omitted).
                                         16
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 17 of 24 PageID #:1186




      The language of a contract is unambiguous where “it has a definite and precise

meaning, unattended by danger of misconception in the purport of the contract itself,

and concerning which there is no reasonable basis for difference of opinion.” Olin

Corp. v. Am. Home Assurance Co., 704 F.3d 89, 99 (2d Cir. 2012); see also Breed v.

Ins. Co. of N. Am., 385 N.E.2d 1280, 1282 (N.Y. 1978). By contrast, “ambiguity exists

where a contract term could suggest more than one meaning when viewed objectively

by a reasonably intelligent person who has examined the context of the entire

integrated agreement and who is cognizant of the customs, practices, usages and

terminology as generally understood in the particular trade or business.” Bayerische

Landesbank, N.Y. Branch v. Aladdin Cap. Mgmt. LLC, 692 F.3d 42, 53 (2d Cir. 2012).

Ambiguity can arise from either the language of the contract itself or the inferences

that can be drawn therefrom, but ambiguity does not exist simply because the parties

urge different interpretations of the contract’s language. Homeward Residential, Inc.,

298 F.R.D. at 128–29. Additionally, a court must avoid any interpretation of the

contract that would be “absurd, commercially unreasonable, or contrary to the

reasonable expectations of the parties.” Cambridge Cap. LLC v. Ruby Has LLC, 565

F. Supp. 3d 420, 470 (S.D.N.Y. 2021) (internal quotation marks and citations

omitted).

      Where a contract’s language is clear and unambiguous, interpretation is a

matter of law, and the Court may decide a claim turning on that interpretation on a

Rule 12(c) motion. See Surrey Propco LLC v. Denihan Ownership Co., LLC, 614 F.

Supp. 3d 62, 69 (S.D.N.Y. 2022). If, however, the language of a contract is ambiguous,



                                         17
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 18 of 24 PageID #:1187




its interpretation presents a question of fact that is not amenable to resolution at the

pleadings stage. See Homeward Residential, Inc., 298 F.R.D. at 129.

       The parties dispute centers on the meaning of Sections 2.2 and 2.2.1 of the

Amended Agreement, which provide, in relevant part, as follows:

              2.2 Supply Minimum. During the term of the Amended
              Agreement, ACB will purchase from Ardagh 12 oz. Sleek,
              24 oz. and 12 oz. standard can bodies and associated can
              ends in the Annual Minimum Volume and up to the Annual
              Maximum Volume as outlined below. *** During the
              calendar year as noted in the chart below, 5 from 2021
              through 2026, customer will purchase the minimum
              number of 12 oz. Sleek, 24 oz. and 12 oz. standard can
              bodies and their associated ends for shipment to ACB’s US
              locations and ACB may elect to purchase up to the Annual
              Maximum Volume per calendar year as noted below, and
              Ardagh shall supply such Aluminum Beverage Cans as
              ordered by ACB up to the Annual Maximum Volume per
              year. Should ACB wish to purchase more than the Annual
              Maximum Volume in a calendar year, the Parties will work
              together in good faith regarding Ardagh supplying such
              quantities.

              ******************************************************

              2.2.1 Minimum Volumes. Beginning January 1, 2021,
              Ardagh shall supply 100% of ACB’s orders up to the Annual
              Maximum Volumes above. Should Customer fail to
              purchase the Annual Minimum Volumes during the
              applicable calendar year, the volume shortfall will be
              purchased by Customer in the following calendar year and
              the term of this Amended Agreement shall be extended
              until all such purchases have been made. For clarification,
              ACB shall be required to purchase such Annual Minimum
              Volumes as noted above in the relevant calendar year.
              Should ACB obtain cans or ends exceeding such Annual
              Minimum Volume from a third party after purchasing the

   5 The “chart below” includes “Annual Minimum Volume” and “Annual Maximum Volume”

designations for each type of can (12 oz sleek, 12 oz standard, and 24 oz standard). (R. 36-1
at 88.) The chart is further broken down by year, beginning with 2021 and continuing for
each year until 2026. (Id.)
                                             18
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 19 of 24 PageID #:1188




             minimum noted above, any and all costs associated with
             such third-party supply are the responsibility of Customer.

      (R. 36-1 at 87–88.)

      Ardagh argues that the language of these provisions makes clear that ACB has

a contractual duty to purchase the Annual Minimum Volumes during each calendar

year and that any shortfall in a given year must be cured within the following

calendar year to avoid breach of the Agreement. (R. 73 at 9–18.) It follows that, should

ACB fail to meet its purchasing obligations in 2026, the final calendar year of the

Agreement, the term of the contract (and, therefore, ACB’s ability to cure) shall not

extend beyond January 1, 2028 (the end of the “following calendar year”). (See id.)

ACB, on the other hand, contends that the Amended Agreement provides no

limitations on the extent to which shortfalls may be rolled over into subsequent years

and contemplates a flexible extension policy under which the terms of the contract

may be extended until all Annual Minimum Volumes are purchased. (R. 82 at 9–18.)

In other words, ACB argues that its obligations to purchase Annual Minimum

Volumes can be rolled over into subsequent years perpetually. Alternatively, ACB

advances that Section 2.2 is ambiguous, thereby precluding judgment on the

pleadings at this stage. (Id. at 18–19.)

      Here, the language of the Amended Agreement clearly and unambiguously

requires that ACB purchase the Annual Minimum Volume of cans that correspond to

each calendar year from 2021 through 2026. Sections 2.2 and 2.2.1 use mandatory

language, i.e. “will” and “shall be required,” when describing ACB’s minimum

purchase requirements for these years. See Hegazy v. Halal Guys, Inc., No. 22 C 1880,


                                           19
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 20 of 24 PageID #:1189




2023 WL 8924092, at *4 (S.D.N.Y. Dec. 27, 2023) (explaining that language such as

“must,” “shall,” and “will,” create mandatory, not optional, terms). By contrast, the

Amended Agreement uses permissive terms, i.e., “may elect,” when describing the

Annual Maximum Volume of purchases per year. See Novelty Crystal Corp. v. PSA

Institutional Partners, L.P. 850 N.Y.S.2d 497, 499 (N.Y. App. Div. 2008) (providing

that “may” is a permissive term, whereas “will” is mandatory). “A contract should be

construed, wherever possible, in such a way as to reconcile and give effect to all of its

provisions.” Id. Applying that principle here, it is clear that the Amended Agreement

contemplated a minimum purchasing requirement applicable to each of the calendar

years from 2021 through 2026. (See R. 36-1 at 88 (“During the calendar year as noted

in the chart below, from 2021 through 2026, customer [ACB] will purchase at least

the minimum number of 12 oz. Sleek, 24 oz. and 12 oz. standard can bodies and their

associated ends . . .”); id. (“ACB shall be required to purchase such Annual Minimum

Volumes as noted above in the relevant calendar year.”).) Any contrary interpretation

would render the distinction between the mandatory “will” as to the Annual

Minimum Volumes and the discretionary “may” as to the Annual Maximum Volumes

meaningless. See Matter of Edelen, 195 N.Y.S.3d 741, 744 (N.Y. App. Div. 2023)

(explaining that courts “should seek an interpretation which does not render any

term or phrase of a contract meaningless or superfluous”).

      This same principle undercuts ACB’s perpetual rollover argument. Indeed,

ACB advances a reading of the contract that would provide for “an adaptable

minimum-maximum volume framework” and would avoid termination of the contract



                                           20
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 21 of 24 PageID #:1190




unless and until ACB meets its Annual Minimum Volume purchasing obligations. (R.

82 at 9–10.) Such a reading, however, defies the basic tenets of contract

interpretation. First, interpreting the Amended Agreement as allowing for perpetual

rollover until all minimum volume purchases have been made would render Section

2.2’s chart and its corresponding Annual Minimum Volume requirements for each

calendar year meaningless. See Edelen, 195 N.Y.S.3d at 744.

      Second, Section 2.2.1 provides that, “[s]hould [ACB] fail to purchase the

Annual Minimum Volumes during the applicable calendar year, the volume shortfall

will be purchased by [ACB] in the following calendar year . . ..” (R. 36-1 at 88

(emphasis added).) The plain and ordinary meaning of the term “following,” is “[t]hat

comes after or next in order, sequence, or time; succeeding, subsequent, ensuing.” See

Following,                OXFORD                  ENGLISH                 DICTIONARY,

https://www.oed.com/dictionary/following_adj. Employing the term “following” before

the singular phrase “calendar year” thus runs counter to ACB’s perpetual rollover

position and, instead, contemplates a limited, one-year cure period for any shortfall.

See Edwards v. Sequoia Fund, Inc., 938 F.3d 8, 12–13 (2d Cir. 2019) (applying New

York law and explaining that the words and phrases used in an agreement “must be

given their plain meaning so as to define the rights of the parties”).

      The remainder of the foregoing provision, which reads, “the term of this

Amended Agreement shall be extended until all such purchases have been made[,]”

(R. 36-1 at 88), does not alter this conclusion. ACB contends that this provision makes

clear that any purchasing shortfalls will continue to rollover into the “following



                                          21
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 22 of 24 PageID #:1191




calendar year[s]” indefinitely until “all [Annual Minimum Volume] purchases have

been made.” (R. 82 at 13.) This interpretation, however, does not give effect to the

contract as a whole. See Muzak Corp. v. Hotel Taft Corp., 133 N.E.2d 688, 690 (N.Y.

1956) (“The rules of construction of contracts require [courts] to adopt an

interpretation which gives meaning to every provision of a contract or, in the

negative, no provision of a contract should be left without force and effect.”). Here,

the Amended Agreement defines ACB’s purchasing obligations by each “calendar

year,” from 2021 through 2026, and provides for a clear end date of January 1, 2027.

(See R. 36-1 at 87.) This end date was specifically negotiated by the parties as part of

their amendment to the terms of the Original Agreement, which originally provided

for an end date of January 1, 2024. (R. 36-1 at 18; see also id. at 87 (“. . . ACB and

Ardagh desire to modify the Original Agreement . . . (iii) to extend the Original

Agreement to January 1, 2027, as described herein.”).) Had the parties intended for

a “flexible” and “long-term” structure, as ACB so contends, the inclusion of a defined

end date would not be necessary. See A.X.M.S. Corp. v. Friedman, 948 F. Supp. 2d

319, 332 (S.D.N.Y. 2013) (“The parties’ intent is derived from the plain meaning of

the language employed in the agreements . . . when the agreements are read as a

whole.”).

       The Court recognizes that the Amended Agreement’s “Term” provision states

that the January 1, 2027 end date “may be extended per the Minimum Volume

Section 2.2.2 [sic]. 6” (R. 36-1 at 86.) In turn, Section 2.2.1 provides that “the volume


   6 ACB advises the Court that the Amended Agreement’s “Term Provision” contains a typo

wherein it refers to § 2.2.2 “rather than the relevant § 2.2.1.” (R. 82 at 16 n.10.)
                                               22
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 23 of 24 PageID #:1192




shortfall will be purchased by [ACB] in the following calendar year and the term of

this Amended Agreement shall be extended until all such purchases have been

made.” (Id. at 88.) According to ACB, these provisions show that the end date of the

Amended Agreement is determinable, not by the defined date of January 1, 2027, but

by the date in which all Annual Minimum Volume purchases have been made. (R. 18

at 82.) But such an interpretation is not commercially reasonable since no rational

commercial entity would incur obligations in exchange for a purely discretionary

option to perform. See Cambridge Cap. LLC, 565 F. Supp. 3d at 470. Indeed, such an

interpretation would effectively render ACB’s promises under the contract illusory.

See M & G Polymers USA, LLC v. Tackett, 574 U.S. 427, 440 (2015) (explaining that

one of the traditional principles of contract law is to “avoid constructions of contracts

that would render promises illusory because such promises cannot serve as

consideration for a contract”).

      By contrast, the argument advanced by Ardagh that these provisions work in

tandem to extend the contract, at most, to January 1, 2028 (assuming a 2026

purchasing shortfall) is commercially sensible. As explained above, the plain meaning

of the term “following calendar year” implies a one-year cure period to make up any

purchasing shortfall from the previous calendar year. Giving effect to both the

“following calendar year” provision and the term-extension provision that allows the

contract to be extended beyond the defined January 1, 2027 end date means that ACB

would have from January 1, 2027 to December 31, 2027 to make up any shortfalls for

failing to meet its Annual Minimum Volume purchases in 2026. See, e.g., Ruttenberg



                                           23
 Case: 1:22-cv-07367 Document #: 100 Filed: 02/26/24 Page 24 of 24 PageID #:1193




v. Davidge Data Sys. Corp., 626 N.Y.S.2d 174, 177 (N.Y. App. Div. 1995) (“An

interpretation that gives effect to all the terms of an agreement is preferable to one

that ignores terms or accords them an unreasonable interpretation.”).

      For these reasons, the Court concludes that Sections 2.2 and 2.2.1 of the

Amended Agreement are not ambiguous. Rather, the contract’s terms plainly impose

an Annual Minimum Volume purchase obligation on ACB for each calendar year from

2021 through 2026; that any purchasing shortfall during the applicable calendar year

shall be cured within the following calendar year; and, because the cure period for

any 2026 purchasing shortfall would extend from January 1, 2027 to December 31,

2027 (i.e., the “following calendar year”), the contract may be extended beyond the

defined end date of January 1, 2027, until all such purchases are made, but terminate

no later than January 1, 2028. Accordingly, Ardagh’s motion for judgment on the

pleadings on Count II of the complaint is granted.

                                  CONCLUSION

      Ardagh Metal Packaging USA Corp.’s partial motion to dismiss Defendant

American Craft Brewery, LLC’s counterclaims [32] is granted in part and denied in

part; its motion to strike affirmative defenses [34] is granted; and its motion for

judgment on the pleadings [70] is granted. American Craft Brewery shall have 21 to

amend its counterclaims and affirmative defenses.



Date: February 26, 2024
                                                     JEREMY C. DANIEL
                                                     United States District Judge



                                         24
